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 3

 4
     Attorney for Defendant,
 5   JESUS TAMAYO TAMAYO
 6
                  IN THE UNITED STATES DISTRICT COURT
 7
                FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9                                            ) No. CR-S-05-113-LKK
     UNITED STATES OF AMERICA,                )
10                                            )
                 Plaintiff,                   ) STIPULATION TO CONTINUE
11                                            ) SENTENCING DATE AND
           v.                                 ) DISCLOSURE SCHEDULE;
12                                            ) ORDER
     JESUS TAMAYAO TAMAYO,                    )
13                                            )
                 Defendant.                   )
14                                            )
                                              )
15

16         THE PARTIES TO THIS ACTION, JESUS TAMAYO TAMAYO, by and
17
     through his appointed counsel of record, Lindsay Anne Weston, and Plaintiff
18

19   United States of America, through its counsel, Assistant United States Attorney
20
     Mary Grad, hereby stipulate and request this Court continue the sentencing date
21

22   scheduled in this matter on September 26, 2006, at 9:30 a.m. to November 14,
23
     2006, at 9:30 a.m. The reason for this continuance, which is made at the request
24
     of the defense, is to allow defense counsel sufficient time to conduct and
25

26   complete investigation of issues she deems pertinent to the sentence in this
27
     matter.
28




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 1
           The parties further request this Court adopt the following schedule for

 2   disclosure of and objections to the Pre-Sentence Report:
 3
     Sentencing Motions and Motions to Correct PSR:             November 7, 2006
 4

 5   Filing and Disclosure of PSR to Court and parties:         October 31, 2006
 6
     Counsel’s written objections to PSR to Probation:          October 24, 2006
 7

 8   Proposed PSR disclosed to parties:                         October 10, 2006
 9
           This Stipulation is also based on all records and pleadings in this matter.
10
                                            Resepctfully submitted,
11

12   DATED: August 11, 2006                 _______/s/________________________
13
                                            LINDSAY ANNE WESTON
                                            Counsel for Defendant Tamayo
14

15                                                /s/
     DATED: August 11, 2006                 _______________________________
16
                                            MARY GRAD
17                                          Counsel for Plaintiff
18
                                            United States of America

19

20                              ORDER
21
           GOOD CAUSE APPEARING, the sentencing is continued to November
22

23
     14, 2006, at 9:30 a.m. and the above disclosure schedule is adopted.

24   DATED: August 23, 2006
25

26

27

28




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